Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 1 of 27




                EXHIBIT 36
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 2 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 3 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 4 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 5 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 6 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 7 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 8 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 9 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 10 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 11 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 12 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 13 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 14 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 15 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 16 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 17 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 18 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 19 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 20 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 21 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 22 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 23 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 24 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 25 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 26 of 27
Case 3:17-cv-00939-WHA Document 2510-8 Filed 01/19/18 Page 27 of 27
